FILED: NEW YORK COUNTY CLERK 06/04/2015 04:03 PM                                                                INDEX NO. 155515/2015
NYSCEF DOC. NO. 2                 '                                                                    RECEIVED NYSCEF: 06/04/2015




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ------------------------------------------------------------------------- X
         LIAT BOHADANA CASTIEL, as Administrator ad
         Prosequendum for the ESTATE OF SHAY BOHADANA,
         decedent,
                                                                                       Index No.: 155515/2015
                                                                                       Date Index# Purchased: June 3, 2015

                                                            Plaintiff(s),              A M ENDED SUM M ONS

                                                                                       Plaintiff designates New York
                                                                                       County as the place o f trial
                             -against-
                                                                                       The basis o f venue is Defendant’s
         JUAN C. DIAZ-CASAMAYOR                                                        Place o f Business
         FLAT RATE LONG DISTANCE, INC. a/k/a
         FLAT RATE MOVING & STORAGE, INC.
         PENSKE TRUCK LEASING COMPANY, L.P.,                                           Plaintiff resides at
         ACB CORPORATION 1-5 (fictitious names) and/or                                 Rotem Street, No 20
         JOHN DOES 1-5 (fictitious names),                                             Nahariya, Israel 22352

                                                          Defendant(s).

         ----------------------------------------------------------------------- X
         To the above named Defendants:

                YOU ARE HEREBY SUM M ONED to answer the complaint in this action and to serve
         a copy o f your answer, or, if the complaint is not served with this summons, to serve a notice o f
         appearance, on the Plaintiffs Attomey(s) within 20 days after the service o f this summons,
         exclusive o f the day o f service (or within 30 days after the service is complete if this summons is
         not personally delivered to you within the State o f N ew York); and in case o f your failure to
         appear or answer, judgment will be taken against you by default for the relief demanded in the
         complaint.

         Dated: June 4, 2015

                                                            THE MANDEL LAW FIRM


                                                            Steven J Mandel, Es<
                                                            Attorneys for Plaintiff
                                                            370 Lexington Avenue - Suite 505
                                                            N ew York, New York 10017
                                                            (212) 697-7383




                     Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 1 of 22
Defendants’ Addresses:

Juan C. Diaz-Casamayor
580 59th Street Apartment 3
West N ew York, New Jersey 07093-1352

Flat Rate Long Distance, Inc. a/k/a Flat Rate Moving & Storage, Inc.
555 West 25,h Street 3rd Floor
N ew York, N Y 10001

Penske Truck Leasing Company, LP
Green Hills Office Campus
2675 Morgantown Road
Reading, PA 19607




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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK__________________________                                           INDEX NO.:155515/2015
LIAT BOHADANA CASTIEL as Administrator ad
Prosequendum for the ESTATE OF SHAY BOHADANA,
decedent
                                    Plaintiff,
                 -against-

JUAN C. DIAZ-CASAMAYOR,
FLAT RATE LONG DISTANCE INC. a/k/a
FLAT RATE MOVING & STORAGE, INC.,
PENSKE TRUCK LEASING COMPANY, LP,
ABC CORPORATIONS 1-5 (fictitious names) and/or
JOHN DOES 1-5 (fictitious names),
                                    Defendant.

                                          AMENDED SUMMONS


                                        THE MANDEL LAW FIRM
                                          Attorney for Plaintiff
                                       370 Lexington Avenue, Suite 505
                                         New York, New York 10017
                                             Tel: (212)-697-7383
                                             Fax: (212)681-6157

TO:                                                                     Signature (Rule 130-1.1-a)
Juan C. Diaz-Casamayor
580 59th Street Apartment 3
West New York, New Jersey 07093-1352


Flat Rate Long Distance, Inc. a/k/a Flat Rate Moving & Storage, Inc.
555 West 25th Street, 3rd Floor
New York, NY 10001

Penske Truck Leasing Company, LP
Green Hills Office Campus
2675 Morgantown Road
Reading, PA 19607

[ ] Notice of Entry
that the within is a (certified) true copy of a
duly entered in the Office of the County Clerk of the within named court on             ,2015

[ ] Notice of Settlement
that an order                               of which the within is a true copy
will be presented to the Hon.               one of the judges of the within court at

on                ,2015         at          M.
Dated: June 4, 2015
                                                     Yours, etc.
                                                     THE MANDEL LAW FIRM
                                                     370 Lexington Avenue, Suite 505
                                                     New York, New York, 10017
                                                     212-697-7383



           Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 3 of 22
 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF NEW YORK
 --------------------------------------------------- -------------------------- x
 LIAT BOHADANA CASTEIL, as Administrator ad                                         Index No.: \      5 l5 /3 o l5
 Prosequendum for the ESTATE OF SHAY BOHADANA,
 decedent,                                                                          Date Purchased:                  , < P o i5

                                                                                    SUM M ONS

                                         Plaintiff,                                 Plaintiff designates N ew York
  -against-                                                                         County as the place o f trial.

                                                                                    The basis o f venue is defendant’s
                                                                                    place o f business.
JUAN C. DIAZ-CASAMAYOR,
FLAT RATE LONG DISTANCE INC. a/k/a
FLAT RATE MOVING & STORAGE, INC.,                                                   Plaintiff resides at:
PENSKE TRUCK LEASING COMPANY, LP,                                                   Rotem Street, No 20
ABC CORPORATIONS 1-5 (fictitious names) and/or                                      Nahariya, Israel 22352
JOHN DOES 1-5 (fictitious names),


                                           Defendant(s).
-----------------------------------------------------------------------------x
To the above named Defendant(s):

        YOU ARE HEREBY SUMMONED to answer the complaint on this action and to serve a copy
o f your answer, or, if the complaint is not served with this summons, to serve a notice o f appearance, on
the plaintiffs attorney within twenty (20) days after service o f this summons, exclusive o f the day o f
service (or within thirty days after the service is complete if this summons is not personally delivered to
you within the State o f N ew York); and in case o f your failure to appear or answer, judgment will be
taken against you by default for the relief demanded in the complaint.

Dated: New York, N ew York
       June 1,2015
                                                             THE MANDEL LAW FIRM, P.C.




                                                             Attorneys for Plaintiff
                                                             370 Lexington Avenue - Suite 505
                                                             N ew York, N ew York 10017
                                                             (212) 697-7383


Defendants’ Addresses:

TO:
Juan C. Diaz-Casamayor
580 59th Street Apartment 3


              Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 4 of 22
West New York, New Jersey 07093-1352

Flat Rate Long Distance Inc. a/k/a Flat Rate Moving & Storage, Inc.
99 Evergreen Ave
Newark, New Jersey 07114

Penske Truck Leasing Company, LP
Green Hills Office Campus
2675 Morgantown Road
Reading, PA 19607




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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF BRONX__________________________                                         INDEX NO.:
LIAT BOHADANA CASTIEL as Administrator ad
Prosequendum for the ESTATE OF SHAY BOHADANA,
decedent
                                    Plaintiff,
                 -against-

JUAN C. DIAZ-CASAMAYOR,
FLAT RATE LONG DISTANCE INC. a/k/a
FLAT RATE MOVING & STORAGE, INC.,
PENSKE TRUCK LEASING COMPANY, LP.
ABC CORPORATIONS 1-5 (fictitious names) and/or
JOHN DOES 1-5 (fictitious names),
                                    Defendant.


                                                   SUMMONS


                                          THE MANDEL LAW FIRM
                                      Attorney for (Plaintiff or Defendant)
                                     Office and Post Office Address, Telephone
                                         370 Lexington Avenue, Suite 505
                                            New York, New York 10017
                                                Tel: (212)-697-7383
                                                Fax:(212)681-6157

TO:                                                                      Signature (Rule 130-1.1 -a)
Juan C. Diaz-Casamayor
580 59lh Street Apartment 3                                              ______________________
West New York, New Jersey 07093-1352                                     Steven J. Mandel, Esq.

Flat Rate Long Distance Inc. a/k/a Flat Rate Moving & Storage, Inc.
99 Evergreen Ave
Newark, New Jersey 07114

Penske Truck Leasing Company, LP
Green Hills Office Campus
2675 Morgantown Road
Reading, PA 19607


[ ] Notice of Entry
that the within is a (certified) true copy o f a
duly entered in the Office o f the County Clerk of the within named court on            ,2015

[ ] Notice of Settlement
that an order                                of which the within is a true copy
will be presented to the Hon.                one of the judges of the within court at

on               , 2015         at           M.
Dated: June 1,2015
                                                      Yours, etc.
                                                      THE MANDEL LAW FIRM
                                                      370 Lexington Avenue, Suite 505
                                                      New York, New York, 10017
                                                      212-697-7383



        Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 6 of 22
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
------------------------------------------------------------------- ------ x
LIAT BOHADANA CASTEIL, Administrator ad
Prosequendum for the ESTATE OF SHAY BOHADANA,
decedent,



                                       Plaintiff,
 -against-                                                                     Index No.:


JUAN C. DIAZ-CASAMAYOR,
FLAT RATE LONG DISTANCE INC. a/k/a                                             VERIFIED COMPLAINT
FLAT RATE MOVING & STORAGE, INC.,
PENSKE TRUCK LEASING COMPANY, LP,
ABC CORPORATIONS 1-5 (fictitious names) and/or
JOHN DOES 1-5 (fictitious names),

                                         Defendant(s).
-------------------------------------------------------------------------x
         Plaintiff, LIAT BOHADANA CASTEIL, Administrator ad Prosequendum for the ESTATE OF

SHAY BOHADANA, decedent, by her attorneys, THE MANDEL LAW FIRM, complaining o f the

defendants, respectfully alleges, upon information and belief:

                                                         THE PARTIES

FIRST: At the time o f the commencement o f this action, and at all times relevant hereto, the plaintiff,

LIAT BOHADANA CASTEIL, Administrator ad Prosequendum for the estate o f her deceased brother,

SHAY BOHADANA (hereinafter referred to as ‘‘the plaintiff5), resided in the Country o f Israel.

SECOND: On or about December 30, 2014, the plaintiffs decedent, SHAY BOHADANA, died

intestate in the State o f Missouri. Prior to his death, he resided at 310 Arbegast Drive in the Township

o f Brigantine, County o f Atlantic and State o f New Jersey 08203-3638. On or about February 13, 2015,

plaintiff, LIAT BOHADANA CASTEIL, was duly appointed Administrator ad Prosequendum for

the estate o f her deceased brother, SHAY BOHADANA, by the Surrogate o f Atlantic County, New

Jersey, and she has duly qualified and has thereafter acted and is still acting as such Administrator ad




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Prosequendum.

THIRD: At all times relevant to this action, the defendant, JUAN C. DIAZ-CASAMAYOR resided

at 580 59th Street, Apartment 3, in the Township o f West New York, County o f Hudson and State of

New Jersey 07093-1352.

FOURTH: Upon information and belief, at all times relevant to this action, defendant, FLAT RATE

LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. was and still is a

domestic corporation, or another type o f business organization, duly organized and existing under and

by virtue o f the laws o f the State o f New York.

FIFTH: Upon information and belief, at all times relevant to this action, defendant, PENSKE TRUCK

LEASING COMPANY, LP, was and still is a domestic corporation, or another type o f business

organization, duly organized and existing under and by virtue o f the laws o f the State of New York.

SIXTH: At all times relevant to this action, defendants, ABC CORPORATIONS 1-5 (fictitious names)

were and still are domestic corporations, or other types o f business organizations, duly organized and

existing under and by virtue of the laws of the State o f New York.

SEVENTH: Upon information and belief, at all times relevant to this action, defendant, FLAT RATE

LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. was and still is,

alternatively, a foreign corporation or another type o f business organization duly authorized to do

business and doing business in the State of New York.

EIGHTH: Upon information and belief, at all times relevant to this action, defendant, PENSKE

TRUCK LEASING COMPANY, LP, was and still is, alternatively, a foreign corporation or another type

o f business organization duly authorized to do business and doing business in the State o f New York.

NINTH: At all times relevant to this action, defendants, ABC CORPORATIONS 1-5 (fictitious names)

were and still are, alternatively, foreign corporations or other types of business organizations duly

authorized to do business and doing business in the State o f New York.




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TENTH: Upon information and belief, at all times relevant to this action, defendant, FLAT RATE

LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. maintained a principal

place of business in the City, County and State o f New York.

ELEVENTH: Upon information and belief, at all times relevant to this action, defendant, PENSKE

TRUCK LEASING COMPANY, LP, maintained a principal place o f business in the City, County and

State o f New York.

TWELFTH: At all times relevant to this action, defendants ABC CORPORATIONS 1-5 (fictitious

names) maintained principal places o f business in the City, County and State o f New York.

                           AS AND FOR A FIRST CAUSE OF ACTION

THIRTEENTH: At all times relevant to this action, defendant, FLAT RATE LONG DISTANCE INC.

and/or FLAT RATE MOVING & STORAGE, INC. and/or ABC CORPORATIONS 1-5 (fictitious

names) was the lessee o f a certain 2015 Freightliner Conventional truck bearing Indiana State license

plate number 2261745, that was towing a 2014 Kentucky trailer, in use commercially, for hire, for the

business purpose of carrying merchandise to and from various locations for profit (the “Defendant

Truck”).

FOURTEENTH: At all times relevant to this action, defendant, PENSKE TRUCK LEASING

COMPANY, LP, and/or ABC CORPORATIONS 1-5 (fictitious names) was the owner and lessor o f a

certain 2015 Freightliner Conventional truck bearing Indiana State license plate number 2261745, that

was towing a 2014 Kentucky trailer, in use commercially, for hire, for the business purpose o f carrying

merchandise to and from various locations for profit (the “Defendant Truck”).

FIFTEENTH: At all times relevant to this action, including on or about December 30, 2014, defendant,

JUAN C. DLAZ-CASAMAYOR, was the operator of the Defendant Truck.

SIXTEENTH: At all times relevant to this action, including on or about December 30, 2014, the

Defendant Truck was operated by defendant, JUAN C. DIAZ-CASAMAYOR, and used with the

knowledge, permission and consent, either express or implied, of defendant, FLAT RATE LONG




       Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 9 of 22
DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC.

SEVENTEENTH: At all times relevant to this action, including on or about December 30, 2014,

the Defendant Truck was operated by defendant, JUAN C. DIAZ-CASAMAYOR, and used with the

knowledge, permission and consent, either express or implied, o f defendant, PENSKE TRUCK

LEASING COMPANY, LP.

EIGHTEENTH: At all times relevant to this action, including on or about December 30, 2014,

the Defendant Truck was operated by defendant, JUAN C. DIAZ-CASAMAYOR, and used with the

knowledge, permission and consent, either express or implied, o f defendants, ABC CORPORATIONS

1-5 (fictitious names).

NINETEENTH: At all times relevant to this action, including on or about December 30, 2014,

the Defendant Truck was operated by defendant, JUAN C. DIAZ-CASAMAYOR, on and for the

business o f the defendant, FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING &

STORAGE, INC.

TWENTIETH: At all times relevant to this action, including on or about December 30, 2014,

the Defendant Truck was operated by defendant, JUAN C. DIAZ-CASAMAYOR, on and for the

business o f the defendant, PENSKE TRUCK LEASING COMPANY, LP.

TWENTY-FIRST: At all times relevant to this action, including on or about December 30, 2014,

the Defendant Truck was operated by defendant, JUAN C. DIAZ-CASAMAYOR, on and for the

business of the defendants, ABC CORPORATIONS 1-5 (fictitious names).

TWENTY-SECOND: At all times relevant to this action, including on or about December 30,

2014, decedent, SHAY BOHADANA, was an independent contractor, working with the defendants,

FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. and/or

ABC CORPORATIONS 1-5 (fictitious names), and assisting as a driver with said defendants’ business

purpose of transporting customer’s property to and from various locations for profit.

TWENTY-THIRD: At all times relevant to this action, Interstate 44, 320 feet west of the 167 mile-




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marker in the County o f Pulaski and State o f Missouri, was and still is a public highway in common use

by residents o f that State for the purpose o f vehicular travel in the County o f Pulaski and State o f

Missouri (the ‘'Accident Location”).

TWENTY-FOURTH; On or about December 30, 2014, at approximately 8:25 pm (CST), the

Defendant Truck was being operated by defendant, JUAN C. DLAZ-CASAMAYOR, westbound on

Interstate 44 in the County o f Pulaski and State o f Missouri, with decedent, SHAY BOH ADANA lying

as a passenger in the sleeping berth, when it traveled off the right side o f the roadway, and then returned

to the roadway and overturned, at which time it traveled into the median on the left side o f the roadway

and struck the median cable barrier on the left side o f the roadway and finally came to rest (the

“Accident”).

TWENTY-FIFTH: The aforementioned Accident and the results thereof, including, but not limited to

the wrongful death of the decedent, SHAY BOHADANA, were caused directly, proximately, wholly

and solely, by and through the carelessness, recklessness and negligence o f the defendants, JUAN C.

DIAZ-CASAMAYOR, FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING &

STORAGE, INC., PENSKE TRUCK LEASING COMPANY, LP. and/or ABC CORPORATIONS 1-5

(fictitious names), in their ownership, operation, management, maintenance and control o f the aforesaid

Defendant Truck, including, but not limited to, in operating said Defendant Truck while texting on a cell

phone and not paying attention to the roadway; in failing to heed the decedent, SHAY BOHADANA’s

pleas to stop texting; in failing to heed the decedent, SHAY BOHADANA’s pleas to intercede on his

behalf to force or convince the operator, defendant, JUAN C. DIAZ-CASAMAYOR, to stop texting; in

operating Defendant Truck at an excessive and extremely dangerous rate o f speed under the

circumstances and prevailing conditions; in failing to steer, maneuver and keep a proper lookout so as to

avoid threats and dangers to the decedent’s safety; in negligently permitting said Defendant Truck to be

improperly and/or defectively equipped without good and sufficient brakes and other necessary braking

equipment, and/or in failing to properly apply the same at the time o f said Accident; in failing to observe




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the applicable statutes, ordinances, rules and regulations pertaining to the operation of said Defendant

Truck upon the public highway, including, but not limited to, the Federal Motor Carrier Safety

Regulations, Chapter 3, Title 49 o f the Code o f Federal Regulations; in failing to have the Defendant

Truck in good and proper condition and repair; in failing to observe the road; in failing to keep a proper

and adequate look out; in being inattentive; in driving carelessly; in turning too sharply, thereby creating

a danger and a hazard; in failing to keep and maintain a safe and proper distance between the Defendant

Truck and other vehicles and hazards on the public highway; in failing to make proper use o f the

steering mechanism; in applying improper steering input to the right; in failing to make proper use o f the

braking mechanism; in failing to stop in time to avoid this occurrence; in failing to obey traffic signals,

controls and regulations; in failing to yield the right of way; in failing to have the Defendant Truck

under proper management and control; in permitting, requiring and/or aiding and abetting, by knowingly

and substantially assisting, encouraging, facilitating and/or promoting, negligent behavior and/or

conduct in breach of a duty owed to the decedent, including, but not limited to, texting by sending text

messages on a cellular telephone while operating the Defendant Truck, and also including operating the

Defendant Truck for excessive hours while fatigued; in continually texting and swerving the Defendant

Truck notwithstanding the decedent’s urgent requests directly to the defendant operator, JUAN C. DIAZ

-CASAMAYOR, to cease and desist from that behavior; in continually texting and swerving the

Defendant Truck notwithstanding the decedent’s urgent requests to the defendant operator, JUAN C.

DIAZ-CASAMAYOR’s employer, defendant FLAT RATE LONG DISTANCE INC. and/or FLAT

RATE MOVING & STORAGE, INC., and/or ABC CORPORATIONS 1-5 (fictitious names), to have

the defendant operator, JUAN C. DIAZ-CASAMAYOR, cease and desist from that behavior; and in

otherwise being careless, reckless, negligent, imprudent and hazardous in the ownership, operation,

management, maintenance and control of the Defendant Truck.

TWENTY-SIXTH: Solely as a direct and proximate result o f the defendants’ negligence, carelessness

and recklessness in causing the Accident as aforesaid, the decedent, SHAY BOHADANA, sustained




      Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 12 of 22
grievous and severe bodily injury resulting in his wrongful death.

TWENTY-SEVENTH: The Accident, personal injuries and death sustained by the plaintiff s decedent,

SHAY BOHADANA, were caused solely by the negligence of the defendants without any negligence

on the part o f the plaintiffs decedent, SHAY BOHADANA, contributing thereto in any manner

whatsoever.

TWENTY-EIGHTH; As a result o f the Accident, the decedent, SHAY BOHADANA, sustained

serious personal injuries as defined in Sections 5102(d) o f the Insurance Law o f the State o f New York,

and/or economic loss greater than basic economic loss as defined in Section 5102(a) o f the Insurance

Law o f the State o f New York.

TWENTY-NINTH: As a result o f the Accident, the decedent, SHAY BOHADANA, suffered injuries

as defined by Article 51 o f the Insurance Law o f the State o f New York and his estate is entitled to

recover for non-economic loss and for such economic losses as are not included in the definition o f

“basic economic loss” as set forth in Article 51 o f the Insurance Law o f the State o f New York.

THIRTIETH: As a result o f the Accident the decedent, SHAY BOHADANA, suffered serious injuries

to various parts o f his body resulting in wrongful death; suffered great, conscious pain, suffering and

anguish in body and mind prior to his death, including, but not limited worry and anguish from failing to

succeed in having the operator o f the Defendant Truck cease and desist from texting and driving, and

also conscious pain and suffering from the moment o f the Accident through the moments just before and

at the time o f his death, all o f which were caused by the Accident; and he necessarily received

ambulance, hospital care, medical treatment and medicines in connection with the injuries sustained by

him for which medical expenses were incurred; and his injuries were fatal.

THIRTY-FIRST: Decedent, SHAY BOHADANA, was a covered person as defined by Section 5102 o f

the Insurance Law o f the State o f New York.

THIRTY-SECOND: This action falls within one or more o f the exceptions set forth in Section 1602 o f

the Civil Practice Law and Rules.




      Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 13 of 22
THIRTY-THIRD: By reason of the foregoing, plaintiff suffered damages in an amount in excess of the •

jurisdictional limits of all lower courts which would otherwise have jurisdiction, and in an amount to be

determined at trial together with the costs and disbursements o f this action and with such other and

further relief as the Court may deem just and proper.

                           AS AND FOR A SECOND CAUSE OF ACTION

THIRTY-FOURTH: The plaintiff repeats, reiterates and re-alleges each and every allegation set forth

in the preceding paragraphs with the same force and effect as though more fully set forth at length

herein.

THIRTY-FIFTH: At the time o f the Accident, the defendants, JUAN C. DIAZ-CASAMAYOR and

JOHN DOES 1-5 (fictitious names), were acting within the scope o f the authority given to them by the

defendants, FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC.

and/or PENSKE TRUCK LEASING COMPANY, LP and/or ABC CORPORATIONS 1-5 (fictitious

names), with said authority being either express, implied or inferred from the general course o f business.

THIRTY-SIXTH: At the time o f the Accident, defendants, JUAN C. DIAZ-CASAMAYOR and

JOHN DOES 1-5 (fictitious names), were acting in furtherance o f their duties owed to their employers,

defendants, FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC.

and/or PENSKE TRUCK LEASING COMPANY, LP and/or ABC CORPORATIONS 1-5 (fictitious

names).

THIRTY-SEVENTH: At the time o f the Accident, while defendants, JUAN C. DIAZ

-CASAMAYOR and JOHN DOES 1-5 (fictitious names), were acting, the defendants, FLAT RATE

LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. and/or PENSKE TRUCK

LEASING COMPANY, LP, and/or ABC CORPORATIONS 1-5 (fictitious names), were, or could have

been exercising some control, directly or indirectly over defendants JUAN C. DIAZ-CASAMAYOR’s

and JOHN DOES 1-5 (fictitious namesfs, activities.

THIRTY-EIGHTH: Defendants, FLAT RATE LONG DISTANCE INC. and/or FLAT RATE




      Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 14 of 22
MOVING & STORAGE, INC. and/or PENSKE TRUCK LEASING COMPANY, LP and/or ABC

CORPORATIONS 1-5 (fictitious names) are vicariously liable by reason of the principle of respondeat

superior for the primary liability o f the defendants, JUAN C. D1AZ-CASAMAYOR and JOHN DOES

1-5 (fictitious names).

THIRTY-NINTH: By reason of the foregoing, plaintiff suffered damages in an amount in excess of the

jurisdictional limits o f all lower courts which would otherwise have jurisdiction, and in an amount to be

determined at trial together with the costs and disbursements of this action and with such other and

further relief as the Court may deem just and proper.

                            AS AND FOR A THIRD CAUSE OF ACTION

FORTIETH: The plaintiff repeats, reiterates and re-alleges each and every allegation set forth in the

preceding paragraphs with the same force and effect as though more fully set forth at length herein.

FORTY-FIRST: As a result o f the foregoing, plaintiffs decedent, SHAY BOHADANA, sustained

grievous and severe bodily injury resulting in his wrongful death.

FORTY-SECOND: At the time o f his death, the plaintiffs decedent, SHAY BOHADANA, left

surviving family, next o f kin and heirs at law for whose benefit this action is commenced.

FORTY-THIRD: Prior to his death, plaintiffs decedent, SHAY BOHADANA, was a healthy man,

who attended to and was able to perform his usual duties, and who contributed to the support o f his

family, and by virtue o f his wrongful death his family was deprived o f his comfort, society and support,

and further, plaintiffs decedent, SHAY BOHADANA’s estate suffered pecuniary damages and has

otherwise been peculiarly damaged as a result o f the aforesaid wrongful death o f the plaintiffs decedent,

SHAY BOHADANA, and sustained all other damages allowed by law.

FORTY-FOURTH: By reason o f the death o f plaintiffs decedent, SHAY BOHADANA, it became

necessary to bury his remains, and plaintiffs decedent, SHAY BOHADANA’s estate incurred

the obligation therefore and became liable for and expended money for funeral and other expenses and

will incur additional administration expenses and other expenses in the settlement o f the estate of




      Case 6:16-cv-03103-BP Document 1-1 Filed 06/24/15 Page 15 of 22
plaintiffs decedent, SHAY BOH AD AN A.

FORTY-FIFTH: By reason of the foregoing, plaintiff and the next o f kin o f the plaintiffs decedent,

SHAY BOHADANA, have suffered damages in an amount in excess o f the jurisdictional limits o f all

lower courts which would otherwise have jurisdiction, and in an amount to be determined at trial

together with the costs and disbursements o f this action and with such other and further relief as the

Court may deem just and proper.

                          AS AND FOR A FOURTH CAUSE OF ACTION

FORTY-SIXTH: The plaintiff repeats, reiterates and re-alleges each and every allegation set forth in

the preceding paragraphs with the same force and effect as though more fully set forth at length herein.

FORTY-SEVENTH: At all times relevant to this action, and in violation o f the Federal Motor

Carrier Safety Regulations, Chapter 3, Title 49 o f the Code o f Federal Regulations, specifically, 49 CFR

390.13, defendant, FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING

& STORAGE, INC. and/or ABC CORPORATIONS 1-5 (fictitious names) aided and abetted

the negligence o f defendant, JUAN C. DIAZ-CASAMAYOR, by knowingly and substantially assisting,

encouraging, facilitating and/or promoting defendant operator JUAN C. DIAZ-CASAMAYOR’s

negligent behavior and/or conduct in breach o f a duty owed to the decedent, SHAY BOHADANA,

including, but not limited to, texting while operating the Defendant Truck and operating the Defendant

Truck for excessive hours while fatigued.

FORTY-EIGHTH: Solely as a direct and proximate result of the defendants’ negligence, carelessness

and recklessness in causing the Accident as aforesaid, the decedent, SHAY BOHADANA, sustained

grievous and severe bodily injury resulting in his wrongful death.

FORTY-NINTH: As a result o f the foregoing, the defendants’ actions entitle plaintiff to punitive

damages in addition to compensatory and other damages sought herein.

FIFTIETH: By reason o f the foregoing, plaintiff suffered damages in an amount in excess o f the

jurisdictional limits of all lower courts which would otherwise have jurisdiction, and in an amount to be




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determined at trial, plus punitive damages and attorney's fees, together with the costs and disbursements

o f this action and with such other and further relief as the Court may deem just and proper.



                              AS AND FOR A FIFTH CAUSE OF ACTION

FIFTY-FIRST: The plaintiff repeats, reiterates and re-alleges each and every allegation set forth in the

preceding paragraphs with the same force and effect as though more fully set forth at length herein.

FIFTY-SECOND: At all times relevant to this action, the defendants, JUAN C. DIAZ-CASAMAYOR,

FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. and/or

ABC CORPORATIONS 1-5 (fictitious names), acted in so careless a manor as to show complete

disregard for the rights and safety o f others, including, but not limited to, the decedent, SHAY

BOHADANA.

FIFTY-THIRD: At all times relevant to this action, the defendants, JUAN C. DIAZ-CASAMAYOR,

FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. and/or

ABC CORPORATIONS 1-5 (fictitious names), acted or failed to act knowing that their conduct would

probably result in injury or damage.

FIFTY-FOURTH: At all times relevant to this action, the defendants, JUAN C. DIAZ

-CASAMAYOR, FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE,

INC. and/or ABC CORPORATIONS 1-5 (fictitious names), acted in so reckless a manor or failed to act

in circumstances where an act was clearly required, so as to indicate disregard for the consequences o f

their actions or inactions.

FIFTY-FIFTH: At all times relevant to this action, the defendants, JUAN C. DIAZ-CASAMAYOR,

FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. and/or

ABC CORPORATIONS 1-5 (fictitious names)’s conduct, as outlined above, was willful and wanton.

FIFTY-SIXTH: At all times relevant to this action, the defendants, JUAN C. DIAZ-CASAMAYOR,

FLAT RATE LONG DISTANCE INC. and/or FLAT RATE MOVING & STORAGE, INC. and/or




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ABC CORPORATIONS 1-5 (fictitious namesj’s conduct, as outlined above, was in reckless disregard

for the rights and safety of others, including, but not limited to, the decedent, SHAY BOHADANA.

FIFTY-SEVENTH: At all times relevant to this action, as a result o f the foregoing, plaintiff, LIAT

BOHADANA CASTEIL, as Administrator ad Prosequendum for the Estate of SHAY BOHADANA,

and the next o f kin of the plaintiffs decedent, are entitled to punitive damages, attorney’s fees and costs.

FIFTY-EIGHTH: By reason of the foregoing, plaintiff suffered damages in an amount in excess o f the

jurisdictional limits o f all lower courts which would otherwise have jurisdiction, and in an amount to be

determined at trial, plus punitive damages and attorney’s fees, together with the costs and disbursements

o f this action and with such other and further relief as the Court may deem just and proper.

                            AS AND FOR A SIXTH CAUSE OF ACTION

FIFTY-NINTH: The plaintiff repeats, reiterates and re-alleges each and every allegation set forth in the

preceding paragraphs with the same force and effect as though more fully set forth at length herein.

SIXTIETH: At all times relevant to this action, prior to the death o f plaintiffs decedent, said decedent

sustained severe bodily injuries and conscious pain and suffering including the loss o f enjoyment o f life

for a substantial period o f time prior to his death on December 30, 2014, all due to the negligence and

gross negligence o f the defendants.

SIXTY-FIRST: By reason of the foregoing, plaintiff suffered damages in an amount in excess o f the

jurisdictional limits o f all lower courts which would otherwise have jurisdiction, and in an amount to be

determined at trial together with the costs and disbursements o f this action and with such other and

further relief as the Court may deem just and proper.

WHEREFORE, the plaintiff, LIAT BOHADANA CASTEIL, as Administrator ad Prosequendum
for the Estate o f SHAY BOHADANA, decedent, demands judgment, jointly and severally, against the

defendants herein on the First Cause o f Action in an amount exceeding the jurisdictional limits o f all

lower courts and in an amount to be determined at trial, and on the Second Cause o f Action in an

amount exceeding the jurisdictional limits o f all lower courts and in an amount to be determined at trial,




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and on the Third Cause o f Action in an amount exceeding the jurisdictional limits o f all lower courts and

in an amount to be determined at trial, and on the Fourth Cause o f Action in an amount exceeding the

jurisdictional limits of all lower courts and in an amount to be determined at trial, plus punitive damages

and attorney's fees, and on the Fifth Cause o f Action in an amount exceeding the jurisdictional limits o f

all lower courts and in an amount to be determined at trial, plus punitive damages and attorney’s fees,

and on the Sixth Cause o f Action in an amount exceeding the jurisdictional limits o f all lower courts and

in an amount to be determined at trial, together with the costs and disbursements o f this action.

Dated: New York, New York
       June 1,2015




                                              THE MANDEL LAW FIRM, P.C.


                                              Steven J. Mandel, Esq.
                                              Attorneys for Plaintiff
                                              370 Lexington Avenue - Suite 505
                                              New York, New York 10017
                                              (212) 697-7383
TO:
Juan C. Diaz-Casamayor
580 59th Street Apartment 3
West New York, New Jersey 07093-1352

Flat Rate Long Distance Inc. a/k/a Flat Rate Moving & Storage, Inc.
99 Evergreen Ave
Newark, New Jersey 07114

Penske Truck Leasing Company, LP
Green Hills Office Campus
2675 Morgantown Road
Reading, PA 19607




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                                   ATTORNEY VERIFICATION



STATE OF NEW YORK
                             ss:
COUNTY OF NEW YORK




        The undersigned, an attorney admitted to practice in the courts o f New York State; shows
that deponent is STEVEN J. MANDEL the attomey(s) o f record for the plaintiff in the within
action; that deponent has read the foregoing Summons and Verified Complaint and knows the
contents thereof; that same is true to deponent's own knowledge, except as to the matters therein
stated to be alleged on information and belief, and that as to those matters deponent believes
them to be true. Deponent further says that the reason this verification is made by deponent and
not by Plaintiff is that Plaintiff is not located within the county where Affirmant maintains his
office.

        The grounds o f deponent's belief as to all matters not stated upon deponent's knowledge
are as follows: Materials maintained in my file




                                                            STEVEN J. MANDEL, ESQ


Dated: New York, New York
       June 1,2015




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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF BRONX______________________________                                           INDEX NO.:
LIAT BOHADANA CASTIEL as Administrator ad
Prosequendum for the ESTATE OF SHAY BOHADANA,
decedent
                                    Plaintiff,
                 -against-

JUAN C. DIAZ-CASAMAYOR,
FLAT RATE LONG DISTANCE INC. a/k/a
FLAT RATE MOVING & STORAGE, INC.,
PENSKE TRUCK LEASING COMPANY, LP,
ABC CORPORATIONS 1-5 (fictitious names) and/or
JOHN DOES 1-5 (fictitious names),
                                    Defendant.


                                           VERIFIED COMPLAINT

                                          THE MANDEL LAW FIRM
                                      Attorney for (Plaintiff or Defendant)
                                     Office and Post Office Address, Telephone
                                         370 Lexington Avenue, Suite 505
                                            New York, New York 10017
                                                Tel: (212>697-7383
                                                Fax: (212) 681-6157

TO:                                                                      Signature (Rule 130-1.1-a)
Juan C. Diaz-Casamayor
580 59th Street Apartment 3
West New York, New Jersey 07093-1352                                             K-Mnndp.l Fsn '

Flat Rate Long Distance Inc. a/k/a Flat Rate Moving & Storage, Inc.
99 Evergreen Ave
Newark, New Jersey 07114

Penske Truck Leasing Company, LP
Green Hills Office Campus
2675 Morgantown Road
Reading, PA 19607


[ ] Notice of Entry
that the within is a (certified) true copy of a
duly entered in the Office of the County Clerk of the within named court on              ,2015

[ ] Notice o f Settlement
that an order                                o f which the within is a true copy
will be presented to the Hon.                one of the judges of the within court at

on                ,2015         at           M.

Dated: June 1,2015
                                                      Yours, etc
                                                      THE MANDEL LAW FIRM
                                                      370 Lexington Avenue, Suite 505
                                                      New York, New York, 10017
                                                      212-697-7383



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